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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
Miami Division

MDL No. 2599
Master File No. 15-2599-MD-MORENO
l4-24009-CV-MORENO

IN RE:

TAKATA AIRBAG PRODUCTS
LIABILITY LITIGATION

 

THIS DOCUMENT RELATES TO ALL
ECONOMIC LOSS TRACK CASES
/

 

ORDER GRANTING IN PART AND DENYING IN PART BMW OF NORTH
AMERICA, LLC’S AND BMW MANUFACTURING COMPANY, LLC’S
MOTION TO DISMISS

THIS CAUSE comes before the Court upon BMW of North America LLC’S and BMW
Manufacturing Company, LLC’s (collectively “BMW”) Motion to Dismiss Plaintiffs’ Second
Amended Consolidated Class Action Complaint (the “Motion”) (D.E. 625).l

THE COURT has reviewed the Motion, Plaintiffs’ omnibus response in opposition,
BMW’s reply, and the pertinent portions of the record. In addition, the Court has considered the
arguments briefed at oral argument BMW’s Motion asks the Court to dismiss all counts alleged

against it in the Second Amended Economic Loss Cornplaint.

 

' All Case Management/Electronic Case File Docket Entries correspond to S.D. Fla.

Master File No.: 15-02599-MD-MORENO.

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I. BACKGROUND
Plaintiffs in this case are consumers of vehicles equipped with Takata airbags containing
ammonium nitrate as a propellant. The Court has divided this multidistrict litigation’s component
cases into two tracks: (l) an economic loss track for plaintiffs alleging purely economic
damages, and (2) a personal injury track for plaintiffs alleging physical damages to a person or a
vehicle. This order pertains to the economic loss track cases. In the Complaint, Plaintiffs allege
twenty-one counts against BMW.2

These twenty-one counts against BMW consist of the following:

0 Count 3 alleging violations of the l\/Iagnuson-Moss Warranty Act;

¢ Count 16 alleging fraudulent concealment;

¢ Count 17 alleging breach of New Jersey’s implied warranty of merchantability;

0 Count 18 alleging unjust enrichment;

0 Count 19 alleging violation of New Jersey’s Consumer Fraud Act;

0 Count 47, on behalf of a purported Florida sub-class, alleging violation of the

Florida Deceptive and Unfair Trade Practices Act;

0 Count 48, on behalf of a purported Florida sub-class, alleging breach of Florida’s
implied warranty of merchantability;

0 Count 49, on behalf of a purported Alabama sub-class, alleging violation of
Alabama’s Deceptive Trade Practices Act;

0 Count 51, on behalf of a purported California sub-class, alleging violation of
California’s unfair competition law;

0 Count 52, on behalf of a purported California sub-class, alleging violation of
California’s Consumer Legal Remedies Act;

 

2 This figure does not include Counts 104~106, alleged by the Automotive Recycler’s

Association. The Court granted the Automotive Defendants motion to dismiss these three
Counts. See Order Granting Motion to Dismiss Counts 104-106 (D.E. 975).

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0 Count 53, on behalf of a purported California sub-class, alleging violation of
California’s false advertising law;

0 Count 54, on behalf of a purported California sub-class, alleging violation of the
Song-Beverly Consumer Warranty Act for breach of California’s implied
warranty of merchantability;

0 Count 55, on behalf of a purported California sub-class, alleging negligent failure
to recall;
¢ Count 56, on behalf of a purported Colorado sub-class, alleging violation of the

Colorado Consumer Protection Act;

0 Count 57, on behalf of a purported Colorado sub-class, alleging breach of
Colorado’s implied warranty of merchantability;

¢ Count 63, on behalf of a purported Illinois sub-class, alleging violation of the
Illinois Consumer Fraud and Deceptive Business Practices Act;

0 Count 64, on behalf of a purported Illinois sub-class, alleging violation of the
Illinois Uniform Deceptive Trade Practices Act;

0 Count 89, on behalf of a purported Pennsylvania sub-class, alleging violation of
Pennsylvania’s unfair trade practices and consumer protection law;

0 Count 90, on behalf of a purported Pennsylvania sub-class, alleging breach of
Pennsylvania’s implied warranty of merchantability;

0 Count 99, on behalf of a purported Virginia sub-class, alleging violation of the
Virginia Consumer Protection Act;

0 Count lOO, on behalf of a purported Virginia sub-class, alleging breach of
Virginia’s implied warranty of merchantability.3

These twenty-one counts arise out of fifteen named plaintiffs’ BMW vehicle purchases
The fifteen Plaintiffs are:
l) Christopher Day, who purchased his BMW vehicle, used, in the state of Florida;

2) Sandeep Dewan, who purchased his BMW vehicle, used, in the state of Florida;

 

3 This Order does not apply to any of the claims for injunctive relief. The Court will

consider the arguments concerning injunctive relief in a later order.

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3) William Daugherty, who purchased his BMW vehicle, used, in the state of
California;

4) David Gunther, who purchased his BMW vehicle, used, in the state of Florida;

5) Constantine Kazos, who purchased his BMW vehicle, used, in the state of
Florida;

6) Richard Lee, who purchased his BMW vehicle, new, in the state of Pennsylvania;
7) Howard S. Morris, who purchased his BMW vehicle, new, in the state of Virginia

8) Barbara E. Mulroy, who purchased her BMW vehicle, used, in the state of
Colorado;

9) Henry H. Pham, who purchased his BMW vehicle, used, in the state of California;
lO) Billy Richardson, who purchased his BMW vehicle, used, in the state of Alabama.

ll)Richard H. Sayler, who purchased his BMW vehicle, used, in the state of
California;

12) Robert Schmidt, who purchased his BMW vehicle, used, in the state of California;
13) Carla Thompson, who purchased her BMW vehicle, used, in the state of Georgia;

14) Gerdgene K. Veser, who purchased his BMW vehicle, new, in the state of
Florida; and

15) John Zielinski, who purchased his BMW vehicle, used, in the state of Illinois.

BMW moves to dismiss all counts alleged in Plaintiffs’ Second Amended Complaint

pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b).
II. LEGAL STANDARD

“A pleading that states a claim for relief must contain . . . a short and plain statement of
the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To survive a
motion to dismiss, a “complaint must contain sufficient factual matter, accepted as true, to ‘state
a claim to relief that is plausible on its face.”’ Ashcrofl v. Iqbal, 556 U.S. 662, 663 (20()9)

(quoting Bel/ All. Corp. v. Twombly, 550 U.S. 544, 548 (2007)). Detailed factual allegations are

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not required, but a pleading must offer more than “labels and conclusions” or “a formulaic
recitation of the elements of the cause of action.” Twombly, 550 U.S. at 555.

Where a cause of action sounds in fraud, however, Federal Rule of Civil Procedure 9(b)
must be satisfied in addition to the more relaxed standard of Rule 8. Under Rule 9(b), “a party
must state with particularity the circumstances constituting fraud or mistake,” although
“conditions of a person’s mind,” such as malice, intent, and knowledge may be alleged generally.
Fed. R. Civ. P. 9(b). “The ‘particularity’ requirement serves an important purpose in fraud
actions by alerting defendants to the precise misconduct with which they are charged and
protecting defendants against spurious charges of immoral and fraudulent behavior.” W. Coast
Roofl`ng & Waterprooflng, Inc. v. Johns Mcmvl`lle, Inc., 287 F. App’x 81, 86 (llth Cir. 2008)
(internal citations omitted) (citing Ziemba v. Cascade [ntern., Inc., 256 F.3d 1194, 1202 (l lth
Cir. 2001).

III. LEGAL ANALYSIS
A. Choice of Law Analysis

Plaintiffs argue that a choice of law inquiry is premature. However, the Court finds that
the issue has been briefed and that the claims against BMW can be decided without further
factual development. As such, the Court applies the choice of law analysis prescribed in its
Order Granting in Part and Denying in Part Mazda Motor of America, Inc. D/B/A/ Mazda North
American Operations’ Motion to Dismiss [D.E. 1099] (the “Mazda Order”).4 The Court

addresses the choice of law rules that apply to each Plaintiff in turn below.

 

4 See D.E. 1099 ar 4-7.

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Alabama’s choice of law rules apply to Richardson’s claims because his case was
transferred into the multidistrict litigation from the Northern District of Alabama.5 California’s
choice of law rules apply to Dougherty’s claims because his case was transferred into the
multidistrict litigation from the Central District of California6 and to Mulroy’s claims because
her case was transferred into the multidistrict litigation from the Southern District of Califomia.7
Florida choice of law rules apply to Day and Schmidt’s claims because their cases were
transferred into the multidistrict litigation from the Middle District of Florida,8 to Dewan,
Gunther, and Lee’s claims because their cases were transferred into the multidistrict litigation
from the Southern District of Florida,9 and to Thompson’s claims because her case Was directly
filed in the multidistrict litigation assigned to the Southern District of Florida. Illinois choice of
law rules apply to Zielinski’s claims because his case was transferred into the multidistrict
litigation from the Northern District of Illinois.10 Michigan choice of law rules apply to Morris

and Veser’s claims because their cases were transferred into the multidistrict litigation from the

 

5 N.D. Ala. Case Number 2:15-cv-00092 was assigned S.D. Fla. Case Number l:l5-cv-
20757-FAM.

6 C.D. Cal. Case Number 2:14-cv-08324 was assigned S.D. Fla. Case Number l:15-cv-
20508-FAM.

7 S.D. Cal. Case Number 3:14-cv-026l8 was assigned S.D. Fla. Case Number l:lS-cv-
20643-FAM.

8 l\/I.D. Fla. Case Number 3:14-01427 was assigned S.D. Fla. Case Number l:l5-cv-20674~
FAM (Day); M.D. Fla. Case Number 3:14-cv-01420 was assigned S.D. Fla. Case Number 1:15-
cv-20673-FAM (Schmidt).

9 S.D. Fla. Case Number 0:14-cv-62669-FAM (Dewan); S.D. Fla. Case Number 0:l4-cv-
62669-FAM (Gunther); S.D. Fla. Case Number l:l4-cv-24365-FAM (Lee).

10 N.D. Ill. Case Number l:lS-cv-00272 was assigned S.D. Fla. Case Number l:15-cv-
20796-FAM.

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ll New York choice of law rules apply to Kazos’ claims because

Eastern District of Michigan.
his case was transferred into the multidistrict litigation from the Eastern District of New York12
and to Pham’s claims because his case was transferred into the multidistrict litigation from the
Southern District of New York.13 Ohio choice of law rules apply to Sayler’s claims because his
case was transferred into the multidistrict litigation from the Northern District of Ohio.14
l. Alabama Choice of Law Rules

Alabama’s choice of law rules for tort actions are based on “the traditional choice of law
rule of lex loci delicli” requiring “that the substantive law of the place where the tort occurred
must be employed.” In re Verilink Corp., 405 B.R. 356, 365 (N.D. Ala. 2009) (internal
quotation marks omitted). “Under lex loci delicti, a tort is deemed to have occurred where the
alleged harm was suffered.” Id. (citing Norris v. Taylor, 460 So. 2d 151, 152 (Ala. 1984));
Rcmdolph v. Tenn. Valley Auth., 792 F. Supp. 1221, 1222 (N.D. Ala. 1992) (stating “[i]n
Alabama, the traditional choice of law rule of lex loci delicti governs tort causes of action and
requires that the substantive law of the place where the tort occurred must be employed”).

The state of Alabama is the sole jurisdiction that has significant contacts with

Richardson’s claims. Richardson is a resident of the state of Alabama Who purchased his BMW

 

ll E.D. Mich. Case Number 2:14-cv-l4209 was assigned S.D. Fla. Case Number l:lS-cv-
20496-FAl\/I (Morris); E.D. Mich. Case Number 2115-cv-10078 was assigned S.D. Fla Case
Number l:l5-cv-20769-FAM (Vesser).

'2 E.D.N.Y. Case Number 1;15_cv-00821 was assigned s.D. Fla. Case Number 115-cv-
21099-FAM.

13 S.D.N.Y. Case Number l:l4-cv-08960 was assigned S.D. Fla. Case Number l:l5-cv-
20666-FAM.

'4 N.D. Ohio Case Number l:l4-cv-2722 was assigned S.D. Fla. Case Number 1:15-cv-
20672-FAM.

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vehicle in state of Alabama. Thus, applying Alabama’s choice of law rule of lex loci delicti to
Richardson’s claims, Alabama substantive law governs Richardson’s claims,
2. California Choice of Law Rules

California applies a three-step “governmental interest analysis” to resolve choice of law
issues for tort actions as follows: (1) the court determines whether the laws of the potentially
affected jurisdictions are the same or different; (2) If the laws are different, the court examines
each jurisdiction’s interest in having its laws applied to the case to determine whether a true
conflict exists; and (3) If a true conflict exists, the court compares the relative strength of each
jurisdiction’s interest in having its laws applied to the case to determine which state’s interest
would be more impaired if another states laws were applied. Mazza v. Am. Honda Molor Co.,
666 F.3d 581, 590 (9th Cir. 2012); McCann v. Foster Wheeler LLC, 48 Cal. 4th 68, 81-82 (Cal.
2010); Kearney v. Salomon Smith Bamey, Inc., 39 Cal. 4th 95, 107-08, (2006); Reich v. Purcell,
67 Cal. 2d 551, *555-56, (1967). Yet, as a threshold matter, California recognizes that “the
place of the wrong has the predominant interest.” Mazza, 666 F.3d at 593-94; see Hernandez v.
Burger, 102 Cal. App. 3d 795, 802 (1980). Accordingly, the “place of the wrong” is considered
to be the state in which the alleged harm_where the BMW vehicle was purchased_occurred.
Ia’.

The state of California is the sole jurisdiction that has a governmental interest in
Dougherty’s claims. Dougherty is a resident of the state of California who purchased his BMW
vehicle in the state of California Thus, applying California’s governmental interest analysis
choice of law rule to Dougherty’s claims, California substantive law governs Dougherty’s case.
Next, the Court applies California’s governmental interest analysis choice of law rule to

Mulroy’s claims.

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i. Plaintiff Barbara E. Mulroy
The state of Colorado is the sole jurisdiction with a governmental interest in Mulroy’s
claims. Mulroy is a resident of the state of Colorado who purchased her BMW vehicle in the
state of Colorado_where the alleged injury occurred. Thus, applying California’s governmental
interest analysis choice of law rule to Mulroy’s claims, Colorado substantive law governs
Mulroy’s claims.

3. Florida Choice of Law Rules

Florida’s choice of law rules for tort actions are based on the “‘most significant
relationship’ test outlined in the Restatement (Second) of Conflict of Laws.” Grupo Televisa,
S.A., 485 F.3d at 1240 (quoting Bishop v, Fla. Specialty Paim Co., 389 So. 2d 999, 1001 (Fla.
1980)). Courts consider four types of contacts when determining whether one state has a more
significant relationship to the matter than another state. The four factors are as follows: (1) the
place where the injury occurred; (2) the place where the conduct causing the injury occurred; (3)
the domicile, residence nationality, place of incorporation and place of business of the parties;
and (4) the place where the relationship, if any, between the parties is centered. ]cl. A court

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should evaluate these contacts “according to their relative importance with respect to the
particular issue.”’ ld. (quoting § 145 of the Restatement (Second) of Conflict of Laws). The
first contact is generally the most important In Florida, “absent special circumstances, ‘[t]he
state where the injury occurred would . . . be the decisive consideration in determining the
applicable choice of law.”’ Pysca Panarna, S.A. v. Tensar Earlh Techs., Inc., 625 F. Supp. 2d
1198, 1220 (S.D. Fla. 2008) (quoting Bishop, 389 So. 2d at 1001). The Court applies Florida’s

most significant relationship choice of law rule to Day, Dewan, Gunther, Lee, Schmidt, and

Thompson’s cases in turn below.

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i. Plaintiffs Christopher Day, Sandeep Dewan, and David Gunther
The state of Florida is the sole jurisdiction that has contacts to Day, Dewan, and
Gunther’s claims. They are each residents of the state of Florida who each purchased their
BMW vehicles in the state of Florida. Thus, applying Florida’s most significant relationship
choice of law rule to Day, Dewan, and Gunther’s claims, Florida substantive law governs their
claims. Next, the Court applies Florida’s most significant relationship choice of law rule to Lee,
Schmidt, and Thompson’s claims in tum.
ii. Plaintiff Richard Lee
The states California and Pennsylvania are each jurisdictions that have potential contacts
with Lee’s claims. Lee is a resident of the state of Pennsylvania who purchased his BMW
vehicle in the state of California-where the alleged injury occurred. The Court finds that these
factors, when evaluated according to their relative importance to Lee’s claims, indicate that the
state of California has a more significant relationship to Lee’s claims than the state of
Pennsylvania. Thus, applying Florida’s most significant relationship choice of law rule to Lee’s
claims, California substantive law governs Lee’s claims.
iii. Plaintiff Robert Schmidt
The state of California is the sole jurisdiction that has contacts with Schmidt’s claims,
Schmidt is a resident of the state of California who purchased his BMW vehicle in the state of
California. Thus, applying Florida’s most significant relationship choice of law rule to
Schmidt’s claims, California substantive law governs Schmidt’s claims.
iv. Plaintiff Carla Thompson
The state of Georgia is the sole jurisdiction that has contacts with Thompson’s claims,

Thompson is a resident of the state of Georgia who purchased her BMW vehicle in the state of

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Georgia-_where the alleged injury occurred. Thus, applying Florida’s most significant
relationship choice of law rule to Thompson’s claims, Georgia substantive law governs
Thompson’s claims.

4. Illinois Choice of Law Rules

Like Florida, Illinois applies the choice of law rule of the “most significant relationship
test” to tort actions. Carris v. Marriott Int'l, Inc., 466 F.3d 558, 560 (7th Cir. 2006) (citing Esser
v. Mclntyre, 661 N.E.2d 1138, 1141 (Ill. 1995)). Illinois courts also determine the most
significant relationship by evaluating the parties’ contacts to a jurisdiction based on the same
four factors that Florida Courts evaluate, discussed supra (Section 111.A.3). Esser, 661 N.E.2d at
1141. “Under this test, the law of the place of injury controls unless Illinois has a more
significant relationship with the occurrence and with the parties.” Ia’.; Ingersoll v. Klein, 46 111.
2d 42, 45 (111. 1970); Carris, 466 F.3d at 560.

The state of Illinois is the sole jurisdiction that has contacts with Zielinski’s claims.
Zielinski is a resident of the state of Illinois who purchased his BMW vehicle in the state of
Illinois. Thus, applying Illinois’ most significant relationship choice of law rule to Zielinski’s
claims, Illinois substantive law governs Zielinski’s claims.

5. Michigan Choice of Law Rules

Michigan choice of law rules differ from those previously discussed. In tort actions,
“Michigan courts recognize a presumption in favor of lex fori and apply Michigan law unless a
rational reason to do otherwise exists.” Sta'. Fire Ins. Co, v. Fora' Motor Co., 723 F.3d 690, 693
(6th Cir. 2013) (intemal quotations omitted); Sutherland v. Kennington Truck Serv., Ltcl., 562
N.W. 2d 466, 471 (Mich. 1997); Olmstead v. Anderson, 400 N.W. 2d 292, 302 (Mich. 1987). To
determine whether a rational reason to displace Michigan law exists, the Court applies the

following two-step analysis:

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First, we must determine if any foreign state has an interest in having its law
applied, If no state has such an interest, the presumption that Michigan law
will apply cannot be overcome. If a foreign state does have an interest in
having its law applied, we must then determine if Michigan’s interests
mandate that Michigan law be applied, despite the foreign interests.

Sutherland, 562 N.W. 2d at 471. Accordingly, state interests are created by either “a significant
contact or significant aggregation of contacts” between (1) the state whose law is applied, (2) the
occurrence giving rise to the claim, and (3) the parties. Allslate Ins. v. Hague, 449 U.S. 302, 313
(1981). The Court applies Michigan’s lexfori choice of law rule to Morris and Veser’s cases in
tum.
i. Plaintiff Howard S. Morris

The states of Michigan, Pennsylvania, and Virginia each have potential interests in
Morris’s claims. Morris is a resident of the state of Pennsylvania, who purchased his BMW
vehicle in the state of Virginia, and filed his complaint in the state of Michigan. The state of
Pennsylvania’s sole potential interest to this litigation is Morris’s residence The United States
Supreme Court has held that residence alone does not create a state interest sufficient to
overcome the presumption that Michigan law applies claims filed in the state of Michigan, See
Home Ins. Co. v. Dick, 281 U.S. 397, 408 (1930). As such, the Court finds no rational reason to
apply Pennsylvania substantive law to Morris’s claims, The state of Virginia has contacts to this
litigation because Morris purchased his BMW vehicle in Virginia, where the alleged harm
occurred. However, Michigan courts apply the doctrine of lex fori_where the claim was filed,
rather than lex loci delicti_where the alleged harm occurred. Sexton v. Rya'er Truck Rental,
Inc., 413 Mich. 406, 439 (Mich. 1982); Std. Fire Ins. Co., 723 F.3d at 693; Sulherlana', 562 N.W.
2d at 471; Olmstead, 400 N.W. 2d at 302. Plaintiffs have not put forth sufficient facts to support

a determination that Virginia substantive law should apply Morris’s claims. As such, the Court

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finds no rational reason to displace Michigan substantive law by applying Virginia substantive
law here. Thus, applying Michigan’s choice of law rule of lex fori to Morris’s claims, the court
finds that the aggregate of the states of Pennsylvania or Virginia’s contacts are not sufficient to
create an interest sufficient to overcome the presumption that Michigan substantive law should
apply to Morris’s claims. Thus, Michigan law governs Morris’s case.
ii. Plaintiff Gerdgene K. Veser

The jurisdictions of Michigan and Florida each have potential interests in Veser’s claims.
Veser is a resident of the state of Florida who purchased his BMW vehicle in the state of Florida
yet filed his complaint in the state of Michigan. Applying Michigan’s choice of law rule of lex
fori to Veser’s claims, the Court finds the aggregate of the State of Florida’s contacts sufficient to
create an interest that overcomes the presumption that Michigan substantive law applies to
Veser’s claims. Thus, Florida substantive law governs Veser’s case.

6. New York Choice of Law Rules

“ln tort actions, New York applies a so-called interest analysis” approach to choice of
law selection. AroChem 1er 'l, Inc. v. Buirkle, 968 F.2d 266, 270 (2d Cir. 1992). In this analysis
courts seek to apply the law of the state that has the greatest interest in the litigation. Watts v.
Jackson Hewill Tax Serv. Inc., 579 F. Supp. 2d 334, 345 (E.D.N.Y. 2008) (citing
Inlercontinental Planning, Ltd. v. Daystrom, Inc., 24 N.Y.2d 372, 382 (1969)); see Babcock v.
Jackson, 12 N.Y.2d 473, 484, (1963). To determine which state has the greater interest, courts
analyze the contacts in relation to the purpose of the laws in conflict. AroChem Int’l, Inc., 968
F.2d at 270; While v. ABCO Eng’g Corp., 221 F.3d 293, 301 (2d Cir. 2000). “Under this
formulation, the significant contacts are, almost exclusively, the parties’ domiciles and the locus

of the tort.” AroChem Int'l, Inc., 968 F.2d at 270 (internal citations quotations omitted) (citing

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Schullz v. Boy Scouts ofAmerica, Inc., 65 N.Y.2d 189, 196_97 (1985). ) The Court applies New
York’s interest analysis approach to Kazos and Pham’s claims in turn below.
i. Plaintiff Constantine Kazos
The states of California and Florida each have potential interests in Kazos’ claims,
Kazos is a resident of the state of California who purchased his BMW vehicle in the state of
Florida_the locus of the tort. The Court finds that these factors indicate that the state of Florida
has a greater interest in having its substantive law applied to Kazos’s claims than the state of
California. Thus, applying New York’s interest analysis choice of law rule to Kazo’s claims,
Florida substantive law governs Kazos’ claims.
ii. Plaintiff Henry H. Pham
The state of California is the sole jurisdiction with an interest in Pham’S claims. Pham is
a resident of the state of California who purchased his BMW vehicle in the state of California.
Thus, applying New York’s interest analysis choice of law rule to Pham’s claims, California
substantive law governs Pham’s case.
7. Ohio Choice of Law Rules
Like Florida and lllinois, Ohio choice of law niles for actions arising in tort are based on
the “most significant relationship test.” Pilgrim v. Universal Health Card, LLC, 660 F.3d 943,
946 (6th Cir. 2011); Morgan v. Biro Mfg. Co., 474 N.E,2d 286, 289 (Ohio 1984). Accordingly,
Ohio courts consider the following general principles when determining whether one state has a
more significant relationship to the litigation than another state:

(1) the place ofthe injury;

(2) the place where the conduct causing the injury occurred;

(3) the domicile, residence, nationality, place of incorporation, and place of
business of the parties;

(4) the place where the relationship between the parties, if any, is located; and

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(5) any factors under [Restatement (Second) of Conflict of Laws § 6] which
the court may deem relevant to the litigation. All of these factors are to be
evaluated according to their relative importance to the case.

Id. (citing Restatement (Second) of Conflict of Laws, § 145 (1988)).

The jurisdictions of California and Ohio each have potential interests in Pham’s claims.
Sayler is a resident of the state of Ohio who purchased his BMW vehicle in the state of
California_before having it shipped to Ohio. The Court finds that these factors, when evaluated
according to their relevance to Sayler’s claims, indicate that the state of Ohio has a more
significant relationship to Sayler’s claims than the state of California. Thus, applying Ohio’s
most significant relationship choice of law rule to Sayler’s claims, Ohio substantive law governs
Sayler’s claims,

8. Conflict of Law Analysis

The fundamental issue in conflict of law analysis is “whether a conflict actually exists.”
Cooper v. Meridian Yachts, Ltd., 575 F.3d 1151, 1171 (l lth Cir. 2009). “‘Simply stated, [a false
conflict occurs] . . . when the laws of the competing states are substantially similar.”’ 1a'.
(alteration in original) (quoting Fioretti v. Mass. Gen. Life Ins. Co., 53 F.3d 1228, 1234 (1 lth
Cir. 2006)). “If a false conflict exists, the court should avoid the conflicts question and simply
decide the issue under the law of each of the interested states.” Id. (internal quotation marks
omitted). “A true conflict exists when two or more states have a legitimate interest in a
particular set of facts in the litigation and the laws of those states differ or would produce a
different result.” Id. (internal quotation marks omitted). The Court finds that under the choice of
law rules for the states of Alabama, California, Colorado, Florida, lllinois, Michigan, New York,
and Ohio, the substantive laws of New Jersey, Pennsylvania, and Virginia should not be applied

to any of the fifteen Plaintiff" s claims. The Court addresses each state in turn.

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i. New Jersey State Law Claims

Plaintiffs assert three counts against BMW arising solely under New Jersey Law.
Specifically, Count 17 and Count 19 allege that BMW breached New Jersey’s implied warranty
of merchantability and that BMW violated New Jersey’s Consumer Fraud Act. Count 18 alleges
unjust enrichment under New Jersey law. In response, BMW argues that the counts arising
under New Jersey law should be dismissed because “[n]one of the BMW plaintiffs initially filed
in New Jersey, Rather, they filed in Alabama, California, Florida, Illinois, Michigan, New York,
and Ohio. . . Applying these choice-of-law rules to the BMW plaintiffs demonstrates that they
may not invoke New Jersey law.” See D.E. 625 at 9. The Court agrees. “[E]ach State may
make its own reasoned judgment about what conduct is permitted or proscribed within its
borders.” State Farm Mul. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 422 (2003); ln re Managea’
Care Litig., 298 F. Supp. 2d 1259, 1296 (S.D. Fla. 2003) (stating “[i]n cases transferred pursuant
to 28 U.S.C. § 1407, the transferee district court must apply the state law, including its choice of
law rules, that would have been applied had there been no change of venue”); Van Dusen v.
Barrack, 376 U.S. 612, 639 (1964); In re Toylola Motor Corp. Unintended Acceleration, 785 F.
Supp. 2d 925, 931 (C.D.Ca1.2011).

The Court finds that under Alabama, California, Colorado, Florida, lllinois, Michigan,
New York, and Ohio’s choice of law rules, New Jersey substantive law should not apply to any
of the fifteen Plaintiffs’ claims, The Court notes that no Plaintiff is a resident of New Jersey,
claims to have been a resident of New Jersey at the time they purchased their BMW vehicle, or
filed their complaint in New Jersey. Further, the court notes that no Plaintiff alleges that they
purchased their BMW vehicle in New Jersey, that they perceived any allegedly deceptive
advertisements about BMW in New Jersey, or alleges that any of the vehicles at issue in this

litigation were manufactured in New Jersey, As such, it appears that the only contact New

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Jersey has to Plaintiffs’ claims is that Defendant BMW of North America, LLC is headquartered
in New Jersey. In accordance with the choice of law analysis discussed, supra , the Court finds
that the interest created by New Jersey’s attenuated contact to Plaintiffs’ claims is not greater
` than the interests that Alabama, California, Florida, Illinois, Michigan, New York, and Ohio
have to Plaintiffs’ claims,
Accordingly, the Court finds that BMW’s motion to dismiss Plaintiff's counts that allege
BMW breached New Jersey’s implied warranty of merchantability, violated New Jersey’s
Consumer Fraud Act, and was unjustly enriched under New Jersey law should be granted. Count
17 and Count 19 are DISMISSED, and Count 18 is DISMISSED as to New Jersey law only.

ii. Pennsylvania Consumer Sub-Class Claims

Plaintiffs, on behalf of a purported sub-class, assert three counts against BMW arising
solely under Pennsylvania law. Specifically, Count 89 alleges violation of Pennsylvania’s unfair
trade practices and consumer protection law, Count 90 alleges breach of Pennsylvania’s implied
warranty of merchantability, and Count 3 alleges breach of the Magnuson-Moss Warranty Act.
BMW argues that these claims must be dismissed because “there is no plaintiff who is a member
of and can represent the Pennsylvania sub-class.” D.E. 625 at 21, 26. In response, Plaintiffs
contend that BMW’s argument should be rejected as premature. D.E. 658 at 34. Specifically,
Plaintiffs assert that “standing only becomes an issue if a class is certified and includes a state in
which no named plaintiff suffered injury.” D.E. 658 at 34. The Court finds Plaintiff`s arguments
unavailing

Constitutional standing requires a plaintiff to show the following: (1) that it has suffered
an injury, (2) that the injury is traceable to the defendant’s action, and (3) that a favorable
decision will likely redress the injury, Neale v. Volvo Cars ofN. Am., LLC, 794 F.3d 353, 358-

59 (3d Cir. 2015); Friencls ofthe Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167,

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180-81, (2000); Lujan v. Defenders of Wila'life, 504 U.S. 555, 560~61 (1992). “[W]hether an
action presents a case or controversy under Article III is determined vis-a-vis the named parties.”
Krell v. Prudential Ins. Co. of Am. (in Re Prudential Ins. Co. Am. Sales Practice Litig. Agem‘
Actions) (internal quotations omitted), 148 F.3d 283, 306 (3d Cir. 1998); Cf. Neale, 794 F.3d 353
at 361 (stating “[a] class action can be maintained by one class representative with proper
standing.”). Plaintiffs rely, in part, on Amchem Pros., Inc. v. Wina’sor, 521 U.S. 591 (1997) and
Ortiz v. Fibreboara' Corp., 527 U.S. 815 (1999) for the proposition that “standing only becomes
an issue if a class is certified and includes a state in which no named plaintiff suffered injury.”
D.E. 658 at 66.

ln Amchem, the Supreme Court affirmed the appellate court’s order denying class
certification because the purported class failed to satisfy the predominance and adequacy of
representation requirements of Fed. R. Civ. P. 23. See Amchem, 521 U.S. at 623-28. The
objectors in Amchem argued that certain claimants lacked standing to sue because, inter alia,
they had not sustained cognizable injuries and did not meet the current amount in controversy
required by 28 U.S.C. § 1332(a). See Ia'. at 612. There the Court addressed the issue of class
certification as logically antecedent to the issue of standing. In order for the Court to analyze
whether class members have Article III standing, there must be a certified class to analyze.
However, in its analysis, the Court also stated that it was “mindful that Rule 23’s requirements
must be interpreted in keeping with Article III constraints, and with the Rules Enabling Act,
which instructs that rules of procedure ‘shall not abridge, enlarge or modify any substantive
right.”’ Id. at 612-13 (quoting 28 U.S.C. § 2072(b)). In support, the Court quoted Rule 82
stating “rules shall not be construed to extend . . . the [subject matter] jurisdiction of the United

States district courts.” Fed. R. Civ. P. 82 (alteration in original).

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The Supreme Court expanded upon the rationale put forth in Amchem in Ortiz. There,
petitioners challenged the certification of a class action arising from a mass of asbestos claims.
The class was certified pursuant to Fed. R. Civ. P. 23(b)(l)(B) despite the absence of a limited
fund, which petitioners alleged was inadequate to protect the interests of the class. See Ortiz,
527 at 827-29. Additionally, the petitioners argued that the majority of the class members’
claims were nonjusticiable under Article 111 because “the vast majority of the exposure-only
class members [were] without injury in fact and hence without standing to sue.” Id. at 830-31
(intemal quotations omitted). Relying on Amchem, the Supreme Court found that “as a threshold
matter,” class certification issues for certified classes are “logically antecedent” to Article 111
standing issues for the purported members of the class Id. at 31.

In the instant case, class certification issues are not logically antecedent to Article 111
standing issues. Unlike in Ortl`z and Amchem, the purported Pennsylvania Consumer Sub-Class
is not a certified class. Thus, each plaintiff within the purported Pennsylvania Consumer Sub-
Class must show that they suffered an injury that is traceable to BMW’s actions and that a
favorable decision would likely redress that injury, Here, no Plaintiff proffers the requirements
of constitutional standing for the purported sub-class. Additionally, Pennsylvania substantive law
does not govern any of the fifteen Plaintiffs’ claims. See supra Section 111.A.1-7. Thus, the
purported Pennsylvania Consumer Sub-Class lacks standing to assert claims alleging violations
under Pennsylvania law. Therefore, BMW’s motion to dismiss Plaintiffs’ claims for violation of
Pennsylvania’s consumer protection law, implied warranty law, and the Magnuson-Moss
Warranty Act is GRANTED. Count 89, Count 90 and Count 3, as related to the purported

Pennsylvania sub-class, are DISMISSED.

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iii. Virginia Consumer Sub-Class Claims

Plaintiffs, on behalf of a purported sub-class, assert three counts against BMW arising
solely under Virginia law. Specifically, Count 99 alleges that BMW violated the Virginia
consumer protection act, Count 100 alleges that violation of Virginia’s implied warranty of
merchantability, and Count 3 alleges breach of the Magnuson-Moss Warranty Act. The Court
addresses each count in turn.

BMW moves to dismiss Count 99, violation of the Virginia consumer protection act, for
the following reasons: (1) “Virginia consumer-protection claim cannot be pursued on behalf of a
putative class;” and (2) the “VCPA requires that a plaintiff plead and prove reliance” D.E. 625
at 22. As discussed, supra (Section 111.A.5.i), Virginia only has one contact to this cause of
action through Plaintiff Morris who purchased his BMW vehicle in Virginia, However, under
the choice of law rules of Michigan-where Morris brought his claim_Michigan substantive
law applies to his case. Accordingly, Virginia substantive law does not govern any of the claims
brought against BMW. As such, BMW’s motion to dismiss the Virginia Consumer Protection
Act claim is GRANTED. Count 99 is DISMISSED.

BMW also moves to dismiss Count 100 and its derivative Count 3 because no Plaintiff
alleges that a malfunction occurred during the implied warranty period under Virginia law. The
Court agrees and finds that the purported Virginia Consumer Sub-Class claim for breach of
Virginia’s implied warranty of merchantability suffers the same defect addressed supra_
Virginia substantive law does not govern any of Plaintiffs’ claims. See Section 111.A.8.i-ii.
Therefore, BMW’s motion to dismiss Plaintiffs’ implied warranty of merchantability claim under
Virginia law and its derivative Magnuson-Moss Warranty Act Claim is GRANTED. Count 100

and Count 3 are DISMISSED.

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B. Manifestation of Alleged Defect
Consistent with the Court’s Mazda Order,15 the Court agrees with Plaintiffs’ argument
regarding manifestation As stated in the Mazda Order, the Court’s finding is limited to the
motion to dismiss stage, taking as true Plaintiffs’ allegations of a uniform defect based on the use
of ammonium nitrate as a propellant. The Court notes that Defendants have raised the possibility
of other causes and factors contributing to the airbag inflator malfunctions Accordingly, these
factors may be appropriately considered at the summary judgement stage.
C. BMW’s Knowledge
BMW argues that Plaintiffs’ Second Amended Complaint “relies on generic ‘knowledge’
allegations that do not plausibly allege knowledge of a defect at the time of the BMW plaintiffs’
vehicle purchases.” D.E. 625 at 16. Further, BMW argues that Plaintiffs’ fraud allegations
“based on information and belief do not satisfy the particularity requirement of Rule 9(b) unless
the complaint sets forth the facts on which the belief is founded.” D.E. 525 at 17 (quoting In re
Worla's of Worza’er Secs. Litig., 649 F. Supp. 1427, 1432-33 (N.D. Cal. 1988) (internal quotations
omitted)). As such, BMW argues that Plaintiffs’ fraud-based claims are defective as a matter of
law.

6 the Court finds that Plaintiffs have

Consistent with the Court’s Mazda Order,l
sufficiently alleged BMW’s knowledge of the alleged inflator defect with sufficient particularity
to meet the requirements of Fed. R. Civ. P. 9(b) at this motion to dismiss phase of the litigation.

Plaintiffs’ allegations that BMW knew or should have known of the volatility and potential

danger of using ammonium nitrate are more than “generic” or “conclusory.” ln support of their

 

15 see D.E. 1099 ar 10_11.

"’ see D.E. 1099 ar 11-13.

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claims, Plaintiffs allege that Takata expressed concerns over the use of ammonium nitrate-a
chemical typically used in demolitions in mining_in its patent documents in 1995 and 1999.
See D.E. 579 1111 205-208. Plaintiffs allege that at the time “the Vehicle Manufacturer
Defendants purchased Takata’s airbags for their vehicles, they were aware that the airbags used
the volatile and unstable ammonium nitrate as the primary propellant in the inflators.” D.E. 579
11 9. Further, Plaintiffs allege that “the Vehicle Manufacturer Defendants were on notice of the
lnflator Defect even before they installed the inflators in their vehicles,” because “Takata
reviewed the designs of the inflators with the Vehicle Manufacturers and the Vehicle
Manufacturers approved the designs.” D.E. 579 11 32. Given these allegations, the Court finds
that Plaintiffs have sufficiently alerted BMW to the precise misconduct alleged.
D. State Law Consumer Protection Claims

BMW moves to dismiss the following state law consumer protection-based claims:
Count 47, on behalf of a purported Florida sub-class, for violation of the Florida Deceptive and
Unfair Trade Practices Act; Count 49, on behalf of a purported Alabama sub-class, for violation
of the Alabama Deceptive Trade Practices Act; and Count 53 for violation of the California false
advertising law

l. Plaintiffs Day, Dewan, Gunther, Kazos, and Veser’s Claims for violation of the
Florida Deceptive and Unfair Trade Practices Act (Count 47)

BMW moves to dismiss Count 47 for violation of the Florida Deceptive and Unfair Trade
Practices Act as alleged by Plaintiffs Day, Dewan, Gunther, Kazos, and Veser, BMW asserts
Count 47 should be dismissed for the following reasons: (1) the lack of defect manifestation bars
Plaintiffs’ Florida Deceptive and Unfair Trade Practices Act claims because they are based on
the risk of future product failures; and (2) Veser’s Florida Deceptive and Unfair Trade Practices

Act claim is time barred by the Florida four-year statute of limitations In support, BMW

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incorporates by reference Automotive Defendants Mazda, Toyota, and Ford’s arguments that
Plaintiffs’ claims are precluded by Florida law for failure to allege manifestation of an airbag
inflator defect in their BMW vehicles See D.E. 608 at 10-13; D.E. 614 at 30; D.E. 612 at 26.

Under Florida law, a valid Florida Deceptive and Unfair Trade Practices Act claim must
establish the following three elements: (1) a deceptive act or unfair practice, (2) causation, and
(3) actual damages Rollins, Inc. v. Butlanal, 951 So. 2d 860, 869 (Fla. 2d DCA 2006). “[A]
deceptive practice is one that is likely to mislead consumers” Davis v. Powerlel, Inc., 776 So.
2d 971, 974 (Fla. lst DCA 2000) (intemal quotation omitted). The Court addresses each BMW
argument below.

BMW’s first argument is unavailing as per the Court’s holding on manifestation See
supra Section 111.B. In support of its second argument, BMW argues that the statute of
limitations for Veser’s Florida Deceptive and Unfair Trade Practices Act claim ran in early 2009,
and that the delayed discovery rule does not apply to Florida Deceptive and Unfair Trade
Practices Act claims, See D.E. 625 at 21. In response, Plaintiffs argue that Defendants
completely ignore that the Fair Debt Collection Practices Act’s limitations period can be tolled
where there is fraudulent concealment. Here, Vesser claims that “BMW concealed and
suppressed material facts regarding the Class Vehicles_most importantly, the fact that they
were equipped with Defective Airbags,” and that he “would not have purchased his 2005 BMW
325i or would not have paid as much for it if he had known of the problems associated with the
vehicle’s lnflator Defect.” See D.E. 579 1111 174, 617. The Court notes that BMW’s motion to
dismiss does not challenge Plaintiffs’ fraudulent concealment claims As explained, supra

(Section III.C), and consistent with the Mazda Order,l7 Plaintiffs have met the heightened

 

'7 see D.E. 1099 3111_13.

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pleading standard of Fed. R. Civ. P. 9(b). Accordingly, the Court finds that Veser has
sufficiently alleged that the statute of limitations tolled the Florida Deceptive and Unfair Trade
Practices Act sufficient to survive the motion to dismiss As such, BMW’s motion to dismiss
Day, Dewan, Gunther, Kazos, and Veser’s Florida Deceptive and Unfair Trade Practices Act
claims is DENIED.

2. Plaintiff Richardson’s Claim for Violation of the Alabama Deceptive Trade
Practices Act Claim (Count 49)

BMW moves to dismiss Count 49, violation of the Alabama Deceptive Trade Practices
Act, for the following reasons: (1) Richardson failed to provide a written demand for relief that
describes the unfair or deceptive act relied upon and the injury suffered 15 days prior to the filing
the instant action; (2) Richardson’s claims are time-barred; and (3) Richardson has not alleged
manifestation of the purported defect. See D.E. 625 at 21-22. BMW incorporates by reference
Automotive Defendants Mazda and Toyota’s arguments on this issue. Id. at 22; See also D.E.
608 at 10-16; D.E. 614 at 30-33.

The Court finds BMW’s first argument unavailing as it incorporates the same arguments
asserted by Mazda regarding a written demand for relief that the Court addressed in its Mazda
Order.18 See D.E. 625 at 22-23. Consistent with the Mazda Order, the Court finds that Plaintiff
has sufficiently alleged that the pre-Suit notice requirement was satisfied

BMW’s second argument asserts that the statute of limitations for Richardson’s claim ran
in June 2012_at the latest. See D.E. 625 at 23. 1n response, Plaintiffs argue that BMW
“completely ignores Alabama Code § 6-2-3, which provides that “[i]n actions seeking relief on
the ground of fraud where the statute has created a bar, the claim must not be considered as

having accrued until the discovery by the aggrieved party of the fact constituting the fraud, after

 

'8 see D.E. 1099 at 27_30.

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which he must have two years within which to prosecute his action.” D.E. 658 at 74 (citing
Utilities Bd ofCity ofOpp v. Shuler Bros., 138 So. 3d 287, 293 (Ala. 2013), reh'g denied (Aug.
23, 2013), Here Richardson alleges the following:

[That he] had no realistic ability to discern that the vehicles were defective
until_at the earliest-after either the Defective Airbag exploded or their
vehicles were recalled [a]nd even then, Plaintiffs and Class Members had
no reason to discover their causes of action because of Defendants’ active
concealment of the true nature of the defect. To that end, it was not until
May 18, 2015, after more than a decade of actively concealing the Inflator
Defect that Takata finally admitted that a defect related to motor vehicle
safety may arise in some of the subject inflators.

D.E. 658 at 72 (internal citations and quotations omitted) (alteration in original). The Court
notes that BMW does not challenge Richardson’s fraudulent concealment claims Accordingly,
the Court finds that Richardson has adequately pleaded “who, what, when, and where” of his
omission claim and sufficiently alleged that BMW’s fraudulent concealment tolled the statute of
limitations at the motion to dismiss stage of this litigation.

Finally, the Court finds BMW’s third argument asserting lack of manifestation unavailing
for the reasons discussed, supra. See Section III.B. Thus, BMW’s motion to dismiss
Richardson’s claim for violation of the Alabama Deceptive Trade Practices Act is DENIED.

3. Plaintiffs Dougherty, Lee, Pham, and Schmidt’s California False Advertising
Law Clams (Count 53)

BMW moves to dismiss Count 53, violation of the California false advertising law, for
the following reasons: (1) Plaintiffs who purchased new BMW vehicles purchased them before
the allegedly misleading statements were made; (2) Plaintiffs who purchased used BMW
vehicles could not have plausibly relied on allegedly misleading statements made years earlier;
and (3) Plaintiffs have not alleged facts to show BMW had knowledge of the claimed defect in

the years the alleged misrepresentations were made.

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California’s “false advertising law generally prohibits advertising that contains any
statement which is untrue or misleading, and which is known, or should be known, to be
untrue or misleading . . .” Chapman v. Skype Inc., 220 Cal. App. 4th 217, 226 (2013) (citing
Bus. & Prof. Code, § 17500.) A valid false advertising claim must “(1) establish a loss or
deprivation of money or property sufficient to qualify as injury in fact, i.e., economic injury, and
(2) show that that economic injury was the result of, i.e., caused by, the unfair business practice
or false advertising that is the gravamen of the claim.” Kwikset Corp. v. Superior Court, 51 Cal.
4th 310, 322, (2011); see e.g. Janda v. T-Mobile, USA, Inc., No. C 05-03729 JSW, 2008 U.S.
Dist. LEXIS 93399, at * 13 (N.D. Cal. Nov. 7, 2008). “The phrase ‘as a result of` in its plain and
ordinary sense means ‘caused by’ and requires a showing of a causal connection or reliance on
the alleged misrepresentation.” Hall v. Time Inc., 158 Cal. App. 4th 847, 855 (2008); In re
Tobacco 11 Cases, 46 Cal. 4th 298, 326 (2009) (“there is no doubt that reliance is the causal
mechanism of fraud); Hensley-Maclean v. Safeway, Inc., No. CV 11-01230 RS, 2014 U.S. Dist.
LEXIS 48591, at *20 (N.D. Cal. Apr. 7, 2014) (“[T]he CLRA only applies to representation and
omissions that occur during pre-sale transactions.”).

In its first argument, BMW asserts that Lee, Morris, and Veser could not have relied upon
BMW’s allegedly false advertisements because they purchased their new BMW vehicles before
the alleged statements were made. D.E. 625 at 24.19 BMW notes that the Second Amended
Complaint proffers that Lee, relied on BMW’s false advertisements to purchase his BMW
vehicle in June 2003, yet he proffers that the statements he relied on were made in 2005. See
D.E. 579 1111 310, 1141. The Court is unaware of any specific proffer asserted by Lee that

identifies a specific statement made by BMW prior to the time he purchased his BMW vehicle,

 

19 Of the claims BMW seeks to dismiss for this Count, only Lee’s claims are governed by

California substantive law as discussed in Sections 111.A.3.i, 111.A.5.i-ii.

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The Court notes that Dougherty is similarly situated to Lee in this respect because Dougherty
purchased his BMW vehicle, albeit used, in August 2001. Dougherty and Lee fail to allege they
plausibly relied on BMW’s statements to purchase their vehicles before the statements were
uttered. As such, the Court finds that Dougherty and Lee’s false advertisement claims must fail.

ln its second argument, BMW proffers that it is not plausible for the used BMW vehicle
Plaintiffs, Pham and Schmidt, to have relied on BMW’s alleged misstatements that were made
years before they purchased their used BMW vehicles However, at this stage of the litigation,
the Court finds it plausible that Pham and Schmidt relied on the statements BMW made in 2005
and 2008 to purchase their used BMW vehicles within the plain and ordinary sense of the term.
Pham purchased his used BMW vehicle in August 2007, and Schmidt purchased his used BMW
vehicle in May 2011. Unlike Lee and Dougherty, Pham and Schmidt’s allegations identify
specific statements made by BMW in support of their claims:

(1) 1n 2005, BMW represented on its website: “Driver’s and passenger’s
front airbag supplemental restraint system (SRS) with ‘smart’ dual
threshold, dual-stage deployment and sensor to help prevent
unnecessary passenger’s airbag deployment.”

(2) ln 2008 BMW represented on its website: “The driver and front
passenger airbags provide effective protection for the head and upper-
torso area, preventing contact with the steering wheel and dashboard.
In a head-on collision, you have the best possible protection.”

Thus, the Court finds that Pham and Schmidt have sufficiently pleaded a claim for violation of
California’s false advertising law. Whether these claims will survive the expected motions for

summary judgment is for another day.

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BMW’s third argument is again unavailing for the reasons stated supra (Section III.C),
consistent with the Mazda Order.20
Therefore, BMW’s motion to dismiss Plaintiffs California false advertising law claims
are GRANTED in part and DENIED in part. Count 53 is DISMISSED only as to Plaintiffs
Dougherty and Lee,
E. State Law Breach of Implied-Warranty Claims

l. Plaintiffs Day, Dewan, Gunther, Kazos, and Veser’s Florida Implied Warranty
Claims (Count 48) and Magnuson Moss Warranty Act Claims (Count 3)

BMW moves to dismiss Count 48, breach of Florida’s implied warranty of
merchantability and Count 3, asserting violation of the Magnuson-Moss Warranty Act. ln
response, Plaintiffs state they “have elected not to pursue implied warranty claims under Florida
law.” D.E. 658 at 91 n.75. Consistent with the Mazda Order,21 BMW’s motion to dismiss Day,
Dewan, Gunther, Kazos, and Veser’s Florida implied warranty of merchantability and
Magnuson-l\/Ioss Warranty Act claims is GRANTED. Count 48 and its derivative Count 3 are
DISMISSED.

2. Plaintiffs Dougherty, Lee, Pham, and Schmidt’s California Implied Warranty
Claims (Count 54) and Magnuson-Moss Warranty Act Claims (Count 3)

BMW moves to dismiss Count 54 for violation of the Song Beverly Act and Count 3 for
violation of the Magnuson-Moss Warranty Act because Plaintiffs fail to identify an implied
warranty breach that occurred during the warranty period. Consistent with the Mazda Order,22

and as discussed supra (Section III. B), Dougherty, Lee, Pham, and Schmidt have sufficiently

 

20 see D.E. 1099 3111~13.
2‘ see D.E. 1099 a131.

22 see D.E. 1099 a110_11.

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pleaded manifestation of a uniform defect. As such, BMW’s motion to dismiss Lee, Pham, and
Schmidt’s implied warranty claims and their derivative Magnuson-Moss Warranty Act claims is
DENIED.

3. Plaintiff Mulroy’s Claim for Breach of Colorado’s Implied Warranty of
Merchantability Claim (Count 57) and Magnuson-Moss Warranty Act (Count 3)

BMW moves to dismiss Count 57 for breach of Colorado’s implied warranty of
merchantability and Count 3 for violation of the Magnuson-Moss Warranty Act on the grounds
that Plaintiffs have failed to claim that a malfunction occurred during the warranty period.
Consistent with the Mazda Order,23 and as discussed supra (Section Ill. B), BMW’s motion to
dismiss Mulroy’s implied warranty claim and his derivative Magnuson-Moss Warranty Act
claim is DENIED.

4. Plaintiffs Dougherty, Lee, Pham and Schmidt’s California Negligent F ailure to
Recall Claims (Count 55)

BMW moves to dismiss Count 55, negligent failure to recall, because Dougherty, Lee,
Pham and Schmidt seek relief solely for alleged economic injuries

The economic loss rule of California requires dismissal of Count 55. In California,
“[e]conomic loss consists of damages for inadequate value, costs of repair and replacement of
the defective product or consequent loss of profits-_without any claim of personal injury or
damages to other property”. Robinson Helicopter Co,, Inc. v. Darza Corp., 34 Cal. 4th 979, 988
(2004) (citing Jimenez v. Superior Court, 29 Cal.4th 473, 482 (2002)); see also Callaghan v.
BMW ofN. Am., LLC, No. l3-CV-4794-RS, 2014 U.S. Dist. LEXIS 46374, at *19-20 (N.D. Cal.
Apr. 2, 2014). “The economic loss rule requires a purchaser to recover in contract for purely

economic loss due to disappointed expectations unless he can demonstrate harm above and

 

22 See D.E. 1099 ar 10_11.

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beyond a broken contractual promise.” Id. (citing Redarowicz v. Ohlendorf, 441 N.E.2d 324,
326 (1982) (“a plaintiff cannot recover solely economic losses in tort”). The economic loss rule
applies to negligent failure to recall claims Majdipour v. Jaguar Land Rover N. Am., LLC, No.
12-07849 (WHW) (CLW), 2015 U.S. Dist. LEXIS 33377, at *43 (D.N.J. Mar. 18, 2015).

In Count 55, Plaintiffs seek damages for solely economic losses arising from BMW’s
alleged negligence in failing to recall BMW vehicles that contain airbags with inflator defects
Thus, Dougherty, Lee, Pham and Schmidt’s negligent recall claims are barred by California’s
economic loss rule. BMW’s motion to dismiss Plaintiffs’ claims for negligent failure to recall is
GRANTED. Count 55 is DISMISSED.

F. Motion to Stay Case

BMW moves to stay this case based on its proffer that the National Highway
Transportation and Safety Administration has primary jurisdiction over the Takata inflator defect
investigation and recall. ln support, BMW incorporates by reference the arguments put forth in
the motion to stay filed by Toyota, Ford, and Subaru. See D.E. 610. The Court has denied the
previously filed motion to stay. See D.E. 737. As stated in the Court’s previous order, BMW’s
motion to stay is DENIED.

G. BMW Manufacturing Company, LLC

BMW moves to dismiss all claims against BMW Manufacturing Company, LLC because
“it is identified only in the caption of the [Second Amended Complaint] but nowhere in the
[Second Amended Complaint] itself. This was due to a clerical error.” D.E. 625 at 32. The
Court notes that Plaintiff s do not object or respond to BMW’s assertion. Thus, BMW’s motion

to dismiss all Plaintiffs’ claims against BMW Manufacturing Company, LLC is GRANTED.

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IV. CONCLUSION
Based on the foregoing, it is hereby
ORDERED AND ADJUDGED that BMW’s Motion to dismiss (D.E. 625) is
GRANTED IN PART and DENIED IN PART as follows:

0 Count 3 is DISMISSED as to Plaintiffs Day, Dewan, Gunther, Kazos, Veser, the
purported Pennsylvania sub-class, the purported Virginia sub-class, and claims
arising under New Jersey Law only;

0 Count 17 and Count 19 are DISMISSED in full;

0 Count 18 is DISMISSED as to claims arising under New Jersey law only;

0 Count 48 is DISMISSED in full;

¢ Count 53 is DISMISSED only as to Plaintiffs Dougherty and Lee;

0 Count 55 is DISMISSED only as to Plaintiffs Dougherty, Lee, Pham and Schmidt;
¢ Count 89 and Count 90 are DISMISSED in full;

0 Count 99 and Count 100 are DISMISSED in full;

0 BMW’s motion to dismiss counts 16, 47, 49, 51, 52, 54, 55, 56, 57, 63, and 64 are
DENIED;

0 BMW’ motion to stay this case is DENIED;

0 BMW’s motion to dismiss all claims alleged against BMW Manufacturing Company,
LLC is GRANTED.
pie

DONE AND ORDERED in Chambers, Miami, Florida, this / 7 day of October, 2016.

M)ER]CO A. MoRENo
UNITED sTATEs DISTRICT JUDGE

  

Copies furnished to:
Counsel of record

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